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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       )
CENTER FOR BIOLOGICAL DIVERSITY,                       )
                                                       )
                Plaintiff,                             )
                                                       )
       v.                                              )       No. 1:14-cv-01021-EGS
                                                       )
S. M. R. JEWELL, in her official capacity as           )
Secretary of the United States Department of           )
the Interior, et al.,                                  )
                                                       )
                Defendants.                            )
                                                       )

                    STIPULATION TO SETTLE PLAINTIFF’S CLAIMS
                         FOR ATTORNEYS’ FEES AND COSTS
       This Stipulation is entered into by and between Plaintiff Center for Biological Diversity

(“Center”) and Defendants S. M. R. Jewell, in her official capacity as Secretary of the United

States Department of the Interior (“Interior”); and the United States Fish and Wildlife Service

(“Service”) (collectively, “Defendants”) to resolve the Center’s combined claims for attorneys’

fees and costs in two related cases: (1) Center for Biological Diversity v. Jewell, No. 1:14-cv-

00991-EGS (D.D.C.); and (2) Center for Biological Diversity v. Jewell, No. 1:14-cv-01021-EGS

(D.D.C.). 1 On September 22, 2014, the parties entered into a settlement agreement that resolved

the Center’s claims on the merits in the above-captioned matter. Docket (“Dkt.”) 12. This

settlement agreement, which was approved by the Court on September 24, 2014, also set forth a

schedule for the parties to address attorneys’ fees and costs, requiring, inter alia, that the parties

notify the Court as to whether they had reached a settlement regarding attorneys’ fees and costs.


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  Pursuant to a minute order, dated September 23, 2014, these two cases, which were previously
consolidated, were “reinstate[d] . . . as separate cases on the Court’s docket.” Minute order, dated
Sept. 23, 2014. Defendants will separately file this Stipulation in the related case.



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Id. at ¶9. The current deadline for the parties to provide such notice to the Court is April 20, 2015.

See minute order, dated Apr. 2, 2015. The parties have now resolved the Center’s combined

claims for attorneys’ fees and costs in these two cases. Accordingly, the parties hereby stipulate

and agree as follows:

       1.       Defendants agree to settle all of the Center’s combined claims for attorneys’ fees

and costs in Center for Biological Diversity v. Jewell, No. 1:14-cv-00991-EGS (D.D.C.); and

Center for Biological Diversity v. Jewell, No. 1:14-cv-01021-EGS (D.D.C.), for a total of

$16,000. The Center shall provide Defendants with all necessary information to effectuate such

payment. Defendants agree to submit all necessary paperwork for the processing of the payment

to the Department of the Treasury, pursuant to 16 U.S.C. §1540(g)(4), within ten (10) business

days after entry of this Stipulation or the receipt of all necessary payment information from the

Center, whichever is later.

       2.       The Center agrees to accept payment of $16,000 in full and complete satisfaction

of any and all claims, demands, rights, and/or causes of action for attorneys’ fees and costs to

which it may be entitled in connection with the two above-referenced cases through and including

the date of this Stipulation. The Center also shall provide to Defendants confirmation of its receipt

of payment within ten (10) business days after receipt.

       3.       By entering into this Stipulation, Defendants do not waive any right to contest fees

claimed by the Center, including its hourly rates, in any future litigation or continuation of the

present two actions. The undersigned parties agree and acknowledge that this Stipulation as to

attorneys’ fees and costs has no precedential value and shall not be used as evidence in any other

attorneys’ fees litigation.   Further, the undersigned parties agree that this Stipulation was

negotiated in good faith and it constitutes a settlement of claims that were vigorously contested,




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denied, and disputed. By entering into this Stipulation, the undersigned parties do not waive any

claim or defense.

       4.       Nothing in this Stipulation shall be interpreted as, or shall constitute, a requirement

that Defendants are obligated to expend or pay any funds exceeding those available, or take any

action in contravention of the Anti-Deficiency Act, 31 U.S.C. §1341, or any other appropriations

law.

       5.       The undersigned representatives of Defendants and the Center certify that they are

fully authorized by the parties they represent to enter into all the terms and conditions of this

Stipulation.

       6.       This Stipulation is effective as of the date it is entered by the Court.

       For all these reasons, the Center and Defendants respectfully request that the Court

approve the Stipulation, as stated above.

Dated: April 20, 2015                                  Respectfully submitted,


/s/ Amy Atwood                                         JOHN C. CRUDEN
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                                  Attorneys for Defendants




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 20, 2015, I electronically filed the foregoing Stipulation to

Settle Plaintiff’s Claims for Attorneys’ Fees and Costs and [Proposed] Order with the Clerk of the

Court using the CM/ECF system, which will send notification of this filing to the attorneys of

record.


                                                    /s/ H. Hubert Yang
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                                                    Attorney for Defendants




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